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System Form 149a         IN THE UNITED STATES BANKRUPTCY COURT                                                U.S. BANKRUPTCY
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA                                              COURT - WDPA
IN RE:

MEGAN N. KERR                                             :       Bankruptcy Case No. 20-10238 TPA
                                                          :       Chapter 13
                   Debtor                                 :


                                      PLAN CONFIRMATION ORDER

A         It is hereby ORDERED that with the consent of the Debtor(s), the Chapter 13 Plan dated April 10, 2020, except
as modified herein as checked below, is CONFIRMED in accord with 11 USC 1325. On the effective date of this Order,
the Chapter 13 Trustee shall pay administrative, secured and priority creditors identified in the Plan. General unsecured
creditors will not receive distributions at least until the government bar date has passed and the Chapter 13 Trustee has
submitted a Notice of Intention to Pay Claims to the Court. Confirmation of this Plan pursuant to this Order is without
prejudice to reconsideration following a status conference held by the Chapter 13 Trustee to gauge the progress of Plan
implementation which conference is scheduled for N/A (which may, upon agreement of the Parties, be continued from
time to time provided however that following the 3rd continuance, the matter shall be set for hearing before the Court),
following which time the Plan may be modified to the satisfaction of all Parties after notice and hearing before the Court,
or the status conference may be marked closed by the Chapter 13 Trustee.

X        1.       For the remainder of the Plan term, the periodic Plan payment is to be $476.00 as of October 2020.
         Debtor(s)’ counsel shall file a motion to amend the income attachment order within seven (7) days of the date
         of this Order.

G        2.       The length of the Plan is increased to a total of months. This statement of duration of the Plan is
         an approximation. The Plan shall not be completed until the goals of the Plan have been achieved. The total
         length of the Plan shall not exceed sixty (60) months.

G        3.         Plan terms are subject to the resolution of all actions to determine the avoidability, priority or extent
         of liens, including determination of the allowed amount of secured claims under 11 U.S.C. §506, disputes over
         the amount and allowance of claims entitled to priority under 11 U.S.C. §507, and all objections to claims.

G        4.       The allowed claims of general unsecured creditors shall be paid from available funds on a pro rata
         basis, which may represent an increase or decrease in the amount projected in the Plan.

G        5.                                      shall be paid monthly payments of $                   beginning with the
         Trustee's                     distribution and continuing for the duration of the plan term, to be applied by that
         creditor to its administrative claim, budget payments and/or security deposit. These payments shall be at the
         third distribution level.

X        6.       The claims of the following creditors shall govern as to amount, classification and rate of interest (or
         as otherwise noted), unless the Debtor(s) successfully objects to the claim: PSECU (Claim No. 11) amount of
         payment to be determined by Trustee; Quicken Loans (Claim No. 4) paid outside of plan; CVI SGP (Claim No.
         3) not paid due to surrender.

X        7.   Additional Terms: The Confirmation Order dated September 29, 2020 at Doc No. 43 is hereby
         VACATED.

B        IT IS FURTHER ORDERED THAT THE FOLLOWING DEADLINES ARE ESTABLISHED:

          1.       Objections to the Plan: This Order is effective as of the date indicated below. Pursuant to
Fed.R.Bankr.P. 2002(b)(3), any party in interest with an objection to any provision of this Confirmation Order must file
a written objection within the twenty-eight (28) day period following entry of this Order. Failure to timely object shall

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be deemed a waiver of all objections and an acceptance of the provisions of this Confirmed Plan. The Trustee may only
disburse funds pursuant to this Confirmation Order upon expiration of the foregoing twenty-eight (28) day period.

          2.         Applications to retain brokers, sales agents, or other professionals. If the Plan contemplates sales
of assets or litigation proceeds as a source of funding, Debtor shall file motion(s) to employ the necessary professionals
within thirty (30) days hereof.

          3.       Review of Claims Docket and Objections to Claims. Pursuant to LBR 3021-1(c)(2), the Debtor or
Debtor’s attorney, if represented, shall review all proofs of claim filed and shall file objections to any disputed claims
within ninety (90) days after the claims bar date or, for late filed or amended claims, within ninety (90) days after they
are filed and served. Absent an objection, the proof of claim will govern as to the classification and amount of the claim.
Objections filed after the ninety (90) days specified herein shall be deemed untimely..

          4.       Motions or Complaints Pursuant to §§506, 507, or 522. All actions to determine the priority,
avoidability, or extent of liens, all actions pursuant to 11 U.S.C. §§506, 507 and 522 shall be filed within ninety (90) days
after the claims bar date.

          5.       Filing Amended Plans. Within fourteen (14) days after the Bankruptcy Court resolves the priority,
avoidability, or extent of a lien, or any objection to claim, the Debtor(s) shall file an amended Plan to provide for the
allowed amount of the claim if the allowed amount differs from the amount stated in the Plan. Debtor(s) shall also file
an amended Plan within thirty (30) days after the claims bar date(s) in the event that no objection is filed and the claim(s)
as filed causes the Plan to be underfunded.


C        IT IS FURTHER ORDERED THAT:

         1.       After the claims objection deadline, the Plan shall be deemed amended to conform to the claims filed
or otherwise allowed. If the Plan expressly modified the terms of payment to any creditor pursuant to 11 U.S.C.
§1322(b)(2), nothing in this Order shall be construed to change the payment terms established in the Plan.

        2.         Any creditor who files or amends a proof of claim shall serve a copy on the Debtor(s) or counsel for
the Debtor(s).

         3.       Any creditor whose payment changes due to variable interest rates, change in escrow, or change in
monthly payments, shall notify the Trustee, Debtor(s)’ Counsel and Debtor(s) at least twenty-one (21) days prior to the
change taking effect.

         4.        Debtor’s counsel must file a fee application in accordance with W.PA.LBR 2016-1 before attorney fees
in excess of the “no look” provision (including retainer) will be allowed or paid.

         5.       The Trustee shall file a Certificate of Default and Request for Dismissal of the case in the event of a
material Plan default. If the default involves failure to make a plan payment the case will result in dismissal without
further hearing upon filing and service of an Affidavit of Default by the Trustee. The Trustee is not precluded from
raising preconfirmation defaults in any subsequent motion to dismiss.

          6.       In the event that any order is entered in this case granting relief from the automatic stay to a secured
creditor, then the Trustee shall make no further disbursements to any creditor on account of any secured claim that is
secured by the subject property, unless directed otherwise by further Order of Court.



Dated: October 8, 2020
(Effective Date)                                                  Thomas P. Agresti
                                                                  United States Bankruptcy Judge
cc: All Parties in interest to be served by Clerk in seven (7) days




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